               9:14-cv-00230-RMG                  Date Filed 05/23/18     Entry Number 911           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina


                 United States of America
                            Plaintiff                             )
                         v.                                       )       Civil Action No.      9:14-cv-230-RMG
   BlueWave Healthcare Consultants Inc, Latonya                   )
  Mallory, Floyd Calhoun Dent, III, Robert Bradford               )
                      Johnson                                     )
                          Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that

O the plaintiff The United State of America           recover from the defendants Mallory, Dent and Johnson the amount of
One Hundred Eleven Million One Hundred Nine Thousand Six Hundred Fifty-five and 30/100 dollars
($ 111,109,655.30 ) for the HDL claims, and from the defendants Dent and Johnson the amount of Three Million Thirty
Nine Thousand Six and 56/100 dollars ($ 3,039,006.56 ) for the Singulex claims, under Rule 54b subject to findings
regarding treble damages, set-offs, and statutory penalties.




This action was
O tried by a jury, the Honorable Richard M. Gergel, United States District Judge presiding, and the jury has rendered a
verdict.




Date: May 23, 2018                                                       CLERK OF COURT         Robin L. Blume


                                                                                             s/Sandra Shealy
                                                                                    Signature of Clerk or Deputy Clerk
